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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                            :
                                                    :
                 v.                                 :        No. 1:21-cr-00350-PLF
                                                    :
ANTIONNE BRODNAX,                                   :
                                                    :
                                   Defendant.       :

     GOVERNMENT’S SUPPLEMENT TO GOVERNMENT’S CONSOLIDATED
   OPPOSITION TO DEFENDANT’S MOTIONS TO UNSEAL SEARCH WARRANT
              AFFIDAVIT AND TO QUASH SEARCH WARRANT

          The United States of America by and through its attorney, the Acting United States

Attorney for the District of Columbia, hereby supplements its consolidated opposition (doc. 17)

to the defendant’s motions to unseal search warrant affidavit and to quash search warrant.

          On June 4, 2021, Magistrate Judge G.M. Harvey issued a Memorandum Opinion and

Order, in 1:21-sc-1386-GMH and 1:21-sc-1387-GMH, the two search warrant matters that are at

issue in the defendant’s motions to unseal and quash. The memorandum opinion and order

grants the government’s motions, filed in those cases, to compel Twitter and Facebook to comply

with the respective search warrants and the companies are now required to comply within seven

days. 1

          At the arraignment in this matter, held on May 20, 2021, this Court ruled that it would

defer ruling on the defendant’s motions until after M.J. Harvey has addressed the government’s

motions to compel in the search warrant cases. Now that M.J. Harvey has ruled, the government

urges this Court to deny the defedant’s motions.



          1
           M.J. Harvey’s Memorandum Opinion and Order does not reveal any social-media account identifiers and
states that it will be made publicly available, notwithstanding that the two search warrant cases are themselves
sealed matters. Accordingly, a copy of the Memorandum Opinion and Order is attached to this Supplement as an
exhibit.
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                           Respectfully submitted,

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